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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

Master File No. 1:17-cev-1338-AJT-JFA

IN RE WILLIS TOWERS WATSON PLC

PROXY LITIGATION CLASS ACTION

 

 

ORDER AWARDING
ATTORNEYS’ FEES AND LITIGATION EXPENSES

This matter came on for hearing on May 21, 2021 (the “Settlement Hearing”) on Lead
Counsel’s motion for an award of attorneys’ fees and Litigation Expenses. The Court having
considered all matters submitted to it at the Settlement Hearing and otherwise; and it appearing that
notice of the Settlement Hearing substantially in the form approved by the Court was mailed to all
Class Members who or which could be identified with reasonable effort, and that a summary notice
of the hearing substantially in the form approved by the Court was published in The Wall Street
Journal and released over the PR Newswire pursuant to the specifications of the Court; and the Court
having considered and determined the fairness and reasonableness of the award of attorneys’ fees
and Litigation Expenses requested,

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

l. This Order incorporates by reference the definitions in the Stipulation and Agreement
of Settlement dated January 15, 2021 (ECF No. 330-1) (the “Stipulation”) and all terms not
otherwise defined herein shall have the same meanings as set forth in the Stipulation.

2. The Court has jurisdiction to enter this Order and over the subject matter of the
Action and all Parties to the Action, including all Class Members.

3. Plaintiffs’ Counsel are hereby awarded attorneys’ fees in the amount of 16% of the

Settlement Fund, and $1 ,658,540.74 in payment of Plaintiffs’ Counsel’s litigation expenses (which
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fees and expenses shall be paid from the Settlement Fund), which sums the Court finds to be fair and
reasonable. Lead Counsel shall allocate the attorneys’ fees awarded amongst Plaintiffs’ Counsel ina
manner which it, in good faith, believes reflects the contributions of such counsel to the institution,
prosccution, and settlement of the Action.

4, In making this award of attorneys’ fees and payment of expenses from the Settlement
Fund, the Court has considered and found that:

(a) The Settlement has created a fund of $75,000,000 in cash that has been
funded into escrow pursuant to the terms of the Stipulation, and that numcrous Class
Members who submit acceptable Claim Forms will benefit from the Settlement that occurred
because of the efforts of Plaintiffs’ Counsel;

(b) The requested fee has been reviewed and approved as reasonable by Lead
Plaintiff, a sophisticated institutional investor that actively supervised the Action;

(c) Copies of the Notice were mailed to over 70,000 potential Class Members and
nominees stating that Lead Counsel would apply for attommeys’ fees in an amount not to
exceed 25% of the Settlement Fund and for Litigation Expenses in an amount not to exceed
$2,000,000, and no objections to the requested attorneys’ fecs and Litigation Expenses were
received;

(d) _—_— Plaintiffs’ Counsel conducted the litigation and achieved the Settlement with
skill, perseverance, and diligent advocacy;

(e) The Action raised a number of complex issues;

(f) Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that Lead Plaintiff and the other members of the Class may have recovered

less or nothing from Defendants;
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(g) Plaintiffs’ Counsel devoted more than 30,300 hours, with a lodestar value of
$16,146,827.50, to achieve the Settlement; and
(h) The amount of attorneys’ fecs awarded and expenses to be paid from the

Settlement Fund are fair and reasonable and consistent with awards in similar cases.

5. Lead Plaintiff The Regents of the University of California is hercby awarded
$17,878.00 from the Settlement Fund as reimbursement for its reasonable costs and expenses
directly related to its representation of the Class.

6. Any appeal or any challenge affecting this Court’s approval regarding any attomeys’
fees and expense application shall in no way disturb or affect the finality of the Judgment.

7. Exclusive jurisdiction is hereby retained over the Partics and the Class Members for
all matters relating to this Action, including the administration, interpretation, effectuation or
enforcement of the Stipulation and this Order.

8. In the event that the Settlement is terminated or the Effective Date of the Settlement
otherwise fails to occur, this Order shall be rendered null and void to the extent provided by the
Stipulation.

9, There is no just reason for delay in the entry of this Order, and immediate entry by the

Clerk of the Court is expressly directed.

SO ORDERED this at aay of ym ay , 2021.

Anthony J. Trarga

United States Distrigt Jige

The Honorable Anthony J. Trenga
United States District Judge

 
